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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


   THE UNITED STATES OF AMERICA

          Plaintiff,

   v.                                               CASE NO.: 09-80507-CIV-MARRA

   TOWN OF LAKE PARK, FLORIDA, and
   COMMISSIONERS PATRICIA PLASKET-
   OSTERMAN, G. CHUCK BALIUS, JEFF
   CAREY and ED DALY, in their official
   capacity as members of the Lake Park
   Town Commission, and DESCA DUBOIS,
   in her official capacity as Mayor of Lake
   Park,

          Defendants.

   ________________________________/

                        ORDER ON DEFENDANTS’ MOTION TO DISMISS

          THIS MATTER comes before the Court upon Defendants’ Motion to Dismiss

   Motion filed on June 1, 2009. The Court has reviewed and considered the Motion, and

   being otherwise fully advised in the premises, it is hereby:

   ORDERED AND ADJUDGED that:

          1.      Defendants’ Motion to Dismiss is and the same is hereby GRANTED.

          2.      The Complaint is hereby dismissed with prejudice as to the Defendant

   Commissioners Patricia Plasket-Osterman, G. Chuck Balius, Jeff Carey and Ed Daly, in

   their official capacities, and Defendant Desca Dubois, in her official capacity as Mayor.

          3.      The Complaint is hereby dismissed without prejudice as to Defendant

   Town of Lake Park in that Plaintiff has failed to join an indispensable party.



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   United States v. Town of Lake Park, et.al.
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   Order on Defendants’ Motion to Dismiss




   DONE AND ORDERED in Chambers, in Palm Beach County, Florida this ____ day of

   _________, 2009.



                                                _________________________________
                                                THE HONORABLE KENNETH A. MARRA
                                                   U.S. DISTRICT COURT JUDGE


   Copies furnished to:

   Counsel of Record




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